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iN THE UNITED srArEs DISTRICT COURT 054¢, \§;
FoR THE WESTERN DISTRICT oF TENNESSEE j "<" 47 O-o_
EASTERN DIVISION @5@" a-O_q

ODIS TUCKER, VONNlE TUCKER,
BLAKE TUCKER and LAUREN TUCKER,

Plaintiffs,

v. No. 05-1046-T/An
STATE OF TENNESSEE, its political

subdivision, HARDTN COUNTY, and CITY
OF SAVANNAH POLICE DEPARTMENT,

\_/\_/\_/\_/"\_/\_/\_/\_/\_/\.,/ \.,/

Defendant.

 

ORDER GRANTING DEFENDANT STATE OF TENNESSEE’S MOTION TO DISMISS

 

The plaintiffs, Odis Tucker, Vonnie Tucker, Blake Tucker, and Lauren Tucker, filed this
action pursuant to Title ll of the Americans With Disability Act of 1990 (ADA), 42 U.S.C. §
12131 el seq., against the State of Tennessee, its political subdivision, Hardin County, and the
City of Savannah Police Departrnent. Before the court is Defendant State of Tennessee’s motion
to dismiss Plaintiffs have responded to the motion.

Plaintiffs allege that the Defendant State of Tennessee discriminated against them by
failing to provide a sign language interpreter at a hearing before a general sessions judge. More
specifically, plaintiffs contend that the Hardin County General Sessions Judge and the assistant
district attorney for the State of Tennessee denied plaintiffs’ request for accommodation in

violation of the ADA. Plaintiffs seek to hold defendant liable for the actions of both the sessions

Th|s document entered on the docket sheet in compliance
with F!u!e 58 and,-'or_?g (a) FRCP on 0?`03'@5' @

 

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judge and the assistant district attorney. Defendant contends that it is not responsible for the
actions or inactions of the Hardin County General Sessions Court and that the sessions judge, not
the assistant district attomey, had the responsibility to provide a sign language interpreter the
plaintiffs’ hearing.

The United States Supreme Court has outlined two guiding principles in determining
Whether a state or county is responsible for an official for the purpose of liability under 42 U.S.C.
§ 1983. First, a court should “ask Whether governmental officials are final policymakers for the
local government in a particular area, or on a particular issue.” McMillian v. Monroe County,
Alabama, 520 U.S. 781, 785 (1997). Second, a court’s “inquiry is dependent on an analysis of
state laW.” § While the Mcl\/lillian Court ultimately found an Alabama sheriff to be a state
officer, it noted that its conclusion Was based in Alabama law. I_d_i4 at 795. Thus, it Would not be
inconsistent for a sheriff or other official to be found a county officer in some states, but not
others. Id. In corning to its conclusion, the Mcl\/lillian Court investigated the applicable state
constitutional provisions, the Alabama Supreme Court’s interpretation of those provisions, and
the Alabama Code. Id. at 789. Therefore, this court Will look to Tennessee law in its analysis

At first glance, a general sessions court appears to be a state court It was created by the
Tennessee legislature under the authority of Article VI, § l of the Tennessee Constitution, Which
allows the legislature to create state inferior courts. Tenn. Code Ann. § 16-15-201 (2()05).
Sessions judges take the same oath as circuit court judges and chancellors. Id. at § 16-15-2()3.
ludges are trained at seminars established by the administrative director of the courts for the

state Id. at § 16-15-211.

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However, a closer inspection of the Tennessee Code and Constitution reveals that
counties are responsible for general sessions courts. The statute creating sessions courts
establishes that, in the event of a vacancy, a new sessions judge is appointed by the county
legislative body, not the state legislature Tenn. Code Ann. § 16-15-2]0 (2005). This requirement
reflects the constitutional provision that vacancies in county offices be filled by the county
legislative body. Tenn. Const. art.VIl, § 2, The code further requires that the county furnish
general sessions judges with a courtroom and all necessary supplies or equipment Id. at § 16-15-
102. These expenses are taken from the county general fund, not state funds. Id. In addition, the
county legislative body can designate up to three alternate venues besides the county seat where
the general sessions court must meet. Id. at § 16-15-103. Most importantly, counties, not the
State, pay the salary of general sessions judges. Id. at § l6-15-5006. ln litigation arising from the
performance of state duties, the Code provides for representation of state employees but limits
“state employees” to state officials whose compensation is paid by the State. Tenn. Code Ann. §§
8-42-101(3)(A), 8-42-103 (2005). Since counties pay sessions judges, the State generally does
not provide representation for sessions judges in litigation. See, gg, Brvant v. Blanton, 463 F.
Supp. 155 (W.D. Tenn. 1979); Graham v. Gen. Sessions Court, 157 S.W.3d 790 (Tenn. 2004)',
State ex rel. Winstead v. Moodv. 596 S.W.Zd 811 (Tenn. 1980).

Furthermore, Tennessee case law clearly places responsibility for general sessions courts
on counties. In 1960, the Tennessee Supreme Court first addressed the issue of whether a
sessions judge was a state or county office, finding the General Sessions Judge of Surnner
County to be a county office. W Durham v. Dismukes, 333 S.W.2d 935, 938-39 (Tenn. 1960).

In support of its conclusion, the Durham court noted that the county paid the judge’s salary, the

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duties of the judge applied only to the people of that county, and the act creating the sessions
court did not show any intent to expand the court’s jurisdiction beyond county lines. w gl_. at
938. Regarding which entity paid the judge’s salary, the court stated that “[t]he primary badge of
a State officer is that the Legislature provide that the State pay the salary of the office.” Id. The
court felt that county judges and inferior courts were primarily local courts even if they had some
jurisdiction over certain state matters, unless the legislature had determined to make them a state
court. _S_e§ § at 939.

Plaintiffs contend that gle is inapplicable because it concerned a general sessions
court created by private act in 1949 and was only applicable to Sumner County, whereas the
modern sessions courts, including the Hardin County General Sessions Court, were created by
general state statute in 1960. However, in cases well after 1960, the Tennessee Supreme Court
reaffirmed the wm conclusion that a general sessions judge was a county officer. E St_ate_\_/_.
MM, 75 S.W.3d 919, 922 (Tenn. 2002) (“A court of general sessions is a county court.”);
M, 596 S.W.Zd at 813-14 (finding the office of a general sessions judge to be a county
office). Moreover, on a question of law certified from the U.S. District Court for the Middle
District of Tennessee, the Tennessee Supreme Court upheld DLham_ and applied the same
analysis in determining that Tennessee sheriffs were county officers E Spurlock v. Sumner
M, 42 S.W.3d 75, 79 (Tenn. 2001).

For the foregoing reasons, this court finds that Hardin County, not the State of Tennessee,
is responsible for the Hardin County General Sessions Court.

Regarding accountability for the appointment of a sign language interpreter, Tennessee

law vests responsibility in the court, not the assistant district attomey, to appoint an interpreter

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for a deaf person who is a party to a court proceeding Tenn. Code Ann. § 24-1-211(b)(l) (2005).
Thus, the general sessions court alone is accountable for providing an interpreter. Since this court
has found that the State of Tennessee is not liable for the Hardin County General Sessions Court,
defendant’s motion to dismiss is GRANTED.

IT lS SO ORDERED.

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CV-01046 was distributed by faX, mail, or direct printing on
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Honorable J ames Todd
US DISTRICT COURT

